






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00666-CR







Manuel Gaspar Martinez, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 331ST JUDICIAL DISTRICT


NO. 9034093, HONORABLE BOB PERKINS, JUDGE PRESIDING






O R D E R


PER CURIAM

Appellant's second motion for extension of time to file brief is granted.  Appellant's
counsel, Mr. John R. Duer, is ordered to tender a brief in this cause no later than June 7, 2004.  No
further extension of time will be granted.

It is ordered May 27, 2004.


Before Justices Kidd, B. A. Smith and Pemberton

Do Not Publish


